 4:11-cr-03032-RGK-CRZ            Doc # 39   Filed: 05/02/11     Page 1 of 1 - Page ID # 73



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                     4:11CR3032
                                             )
              v.                             )
                                             )          MEMORANDUM AND ORDER
ADELFO JUNIOR SOTO,                          )
                                             )
                     Defendant.              )

       The defendant has moved to continue the pretrial motion deadline. Filing No. 38.
Defense counsel explains additional time is needed to review discovery before deciding if
pretrial motions should be filed. Based on the showing set forth in the defendant’s motion,
the court finds the motion should be granted.


       IT IS ORDERED:

       1)     The defendant’s unopposed amended motion to continue, (filing no. 38), is
              granted.

       2)     The defendant’s pretrial motions and briefs shall be filed on or before May 19,
              2011.

       3)     Trial of this case remains set to commence before the Honorable Richard G.
              Kopf at 9:00 a.m. on June 6, 2011 or as soon thereafter as the case may be
              called, for a duration of 4 trial days, in Courtroom 1, United States Courthouse,
              Lincoln, Nebraska. Jury selection will be held at commencement of trial.

       4)     The ends of justice served by granting defendant’s motion to continue
              outweigh the interests of the public and the defendant in a speedy trial, and the
              additional time arising as a result of the granting of the motions, the time
              between April 28, 2011 and May 19, 2011, shall be deemed excludable time in
              any computation of time under the requirements of the Speedy Trial Act, for the
              reason that the parties require additional time to adequately prepare the case,
              taking into consideration due diligence of counsel, the novelty and complexity
              of the case, and the fact that the failure to grant additional time might result in
              a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

              May 2, 2011                                  BY THE COURT:
                                                           s/ Cheryl R. Zwart
                                                           United States Magistrate Judge
